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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK
TANGELO IP, LLC                                    )
           Plaintiff,                              )
                                                   ) Civil Action No. 1:18-cv-1711-WHP
v.                                                 )
                                                   )
HAMMACHER SCHLEMMER &                              )
 COMPANY, INC.                                     )
          Defendant.                               )
                                                   )
                STIPULATION AND ORDER FOR EXTENSION OF TIME

        Counsel for Plaintiff and counsel for Defendant have met and conferred regarding

extending Defendant's time to respond to Plaintiff's Complaint (D.I. 1). Subject to the Court's

approval, Plaintiff requests that Defendant's time to file its response to the Complaint be

extended up to and including April 23, 2018. The reason for this requested extension is to allow

counsel for Defendant additional time to investigate the allegations set forth in Plaintiff's

Complaint, consult with their client, and consider an appropriate response. No party will be

prejudiced by this brief extension.

Dated: March 19, 2018                 STAMOULIS & WEINBLATT LLC

                                      /s/ Stamatios Stamoulis
                                      Stamatios Stamoulis (admitted S.D.N.Y.)
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                                      Attorneys for Plaintiff
                                      Tangelo IP, LLC

SO ORDERED, this ___________ day of ________________, 2018.

                                             ____________________________________
                                             Judge - United States District Court
